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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Gerardo Vargas,                                 No. CV-17-02755-PHX-MHB
10                  Plaintiff,                       ORDER
11   v.
12   Center for Orthopedic         Research    and
     Education Incorporated,
13
                    Defendant.
14
15            Pursuant to the Parties’ stipulation (Doc. 13) and for good cause shown,
16            IT IS ORDERED granting the Stipulation (Doc. 13),
17            IT IS FURTHER ORDERED that the above-captioned case is dismissed
18   with prejudice with each party to bear its own attorney’s fees and costs.
19            Dated this 8th day of January, 2018.
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